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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT

KEITH JOHNSON,
                       - Plaintiff


               v.                               CIVIL NO. 3:09-CV-240 (CFD)


C. WHITE & SON, INC.,
                - Defendant

           RULING AND ORDER ON DEFENDANT’S MOTION TO COMPEL

      The defendant, C. White & Son, Inc., has filed a motion to

compel the plaintiff, Keith Johnson, to answer Interrogatories and

Requests for Production of Documents. (Dkt. #40.) For the reasons

set forth below, the defendant’s motion is GRANTED.

I.    Discussion

      The deadline for the plaintiff to submit his damages analysis

was October 15, 2009.         (Def.’s Mot. Compel 1.)            On November 18,

2009, the plaintiff requested and received a thirty day extension

of time in which to respond to the defendant’s interrogatories and

production requests, as well as to produce his damages analysis.

Id. at 1-2.         The plaintiff failed to produce his damages analysis

by the new deadline of January 13, 2010.           Id. at 2.      On January 22,

2010,    the    plaintiff    requested   and    received   another      two     week

extension.      Id. at 2-3.      The plaintiff again failed to produce his

damages analysis by the new deadline of February 5, 2010.                  Id. at

3.   As of March 10, 2010, the plaintiff still has not produced his

damages analysis.        (Def.’s Resp. 3.)
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     Consequently,       the     plaintiff’s       damages     analysis      is    now

approximately five months overdue.               The defendant has given the

plaintiff multiple opportunities to provide his damages analysis.

The plaintiff failed to meet every deadline that the defendant set.

Accordingly, the defendant’s motion to compel the plaintiff to

produce his damages analysis is GRANTED.               If the plaintiff wishes

to provide a damages analysis, he is ORDERED to do so immediately.

     The     defendant    mailed    its       interrogatories       and   production

requests to the plaintiff on November 12, 2009.                       (Def.’s Mot.

Compel 1.)       The plaintiff’s responses were due on December 14,

2009.      (Def.’s Resp. 2.)       On November 18, 2009, the plaintiff

requested a thirty day extension in which to respond to the

defendant’s interrogatories and production requests.                   (Def.’s Mot.

Compel 1.) The defendant consented to the plaintiff’s request, and

the new deadline became January 13+, 2010.                      Id. at 2.          The

plaintiff, however, did not produce any response by that date. Id.

     On January 22, 2010, a paralegal working for plaintiff’s

counsel notified the defendant that plaintiff’s counsel had not

begun working on the plaintiff’s responses to the defendant’s

interrogatories and production requests.               Id.    The plaintiff then

requested another two week extension, to which the defendant again

consented.      Id.    The new deadline therefore became February 5,

2010.    The plaintiff failed to respond by February 5, 2010.                 Id. at

3. Instead, on February 12, 2010, the plaintiff filed a motion for


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a two week extension of time nunc pro tunc until February 26, 2010.

(See dkt. #38.) The plaintiff was unable to obtain the defendant’s

consent to this request, and Judge Droney has not yet ruled on that

pending motion.       Id.

      On March 4, 2010, the plaintiff provided his first responses

to the defendant’s interrogatories and production requests.                         (See

dkt. #45, Ex. B.)            On March 9, 2010, the plaintiff filed his

objection to the defendant’s pending motion to compel.                      (See dkt.

#44.)     In his objection, the plaintiff argued that he has already

“supplied the defendant with all documents in his possession

custody and control and answer [sic] the interrogatories and

responses to request for production on March 4, 2010.” (Pl.’s Obj.

1.)     Notwithstanding the plaintiff’s objections, the plaintiff’s

responses     to    the     defendant’s        interrogatories       and   production

requests are deficient for two reasons.                   First, in response to

several production requests, the plaintiff indicated that items

“will be provided.”            (Def.’s Resp. Ex. B at 5-7.)                  Although

plaintiff’s        counsel    informed     defendant’s       counsel       that     “all

documents in [his] possession” will be “sent under separate cover

as soon as possible,” the defendant has not yet received those

items.      Second, the plaintiff did not sign his answers to the

defendant’s interrogatories as required by Federal Rule of Civil

Procedure 33(b)(3), thereby rendering those responses deficient.

      The    plaintiff       has   not    satisfactorily       responded      to    the


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defendant’s interrogatories and production requests because the

interrogatories lack the plaintiff’s signature and the plaintiff

has not provided all of the items that he promised in his first

responses of March 4, 2010.     Consequently, the defendant’s motion

to compel the plaintiff to provide complete responses to the

defendant’s production requests is GRANTED and the plaintiff is

ORDERED to provide the applicable documents immediately.

III. Conclusion

     The defendant’s motion to compel (dkt. # 40) is GRANTED.              The

defendant has also moved for an award of reasonable fees incurred

in bringing this motion and opposing defendant’s motion. The award

of any fees in connection with these motions will be considered, on

application, at the conclusion of all proceedings in this case.

     This is a discovery ruling and order that may be reviewed

pursuant to the “clearly erroneous” standard of review.            28 U.S.C.

§ 636(b)(1)(A); Fed. R. Civ. P. 6(a),(e), and 72(a); and Rule 2 of

the Local Rules for U.S. Magistrate Judges.        Accordingly, it is an

order of the court.   See 28 U.S.C. § 636(b) (written objections to

magistrate’s ruling must be filed within fourteen days after

service of same).

IT IS SO ORDERED.

Dated at Hartford, Connecticut, this 19th day of March, 2010.

                                        /s/ Thomas P. Smith
                                        Thomas P. Smith
                                        United States Magistrate Judge

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